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                                              June 14, 2023
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 Ms. Patricia S. Dodszuweit
 Clerk of Court
 U.S. Court of Appeals for the Third Circuit
 21400 U.S. Courthouse
 601 Market Street
 Philadelphia, PA 19106-1790


            Re:      Marquis Wilson v. United States, No. 22-1940 (argument scheduled June 20, 2023)

     Dear Ms. Dodszuweit:

         Pursuant to the Clerk’s letter of June 7, 2023, appellant Marquis Wilson respectfully sub-
 mits this letter brief addressing the following questions: (1) “whether this Court’s application of
 Pennsylvania Rule of Civil Procedure 1042.3(a), see, e.g., Liggon-Redding v. Estate of Sugarman,
 659 F.3d 258, 264-65 (3d Cir. 2011), follows the Supreme Court’s decision in Shady Grove Or-
 thopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393 (2010)” and, (2) “whether this Court’s
 decisions applying Rule 1042.3(a) are binding if inconsistent with the Supreme Court’s holdings,
 see, e.g., United States v. Tann, 577 F.3d 533, 541 (3d Cir. 2009) and Karns v. Shanahan, 879
 F.3d 504, 514-15 (3d Cir. 2018).”

       I.         This Court’s Application of Pennsylvania Rule of Civil Procedure 1042.3(a) De-
                  parts from Shady Grove

          In Shady Grove Orthopedic Associates, P.A. v. Allstate Insurance Co., 559 U.S. 393
 (2010), the Supreme Court articulated a two-step framework for resolving potential conflicts be-
 tween federal rules and state laws when a federal court sits in diversity. First, courts ask whether
 the Federal Rules of Civil Procedure answer the disputed question. Id. at 398 (majority opinion).
 If so, the court next asks whether the Federal Rules are valid under the Rules Enabling Act and the
 Constitution. Id. If yes, courts must apply the Federal Rules over countervailing state rules. Id.
 Shady Grove considered a New York law prohibiting class actions in suits seeking certain types
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of damages. Id. at 396. This state law and Federal Rule 23, the Court explained, “answer the same
question”: “whether Shady Grove’s suit may proceed as a class action.” Id. at 398-99. The Court
thus held that Federal Rule 23’s “one-size-fits-all formula” for the maintenance of a class action
displaced the New York law’s additional requirements. Id. at 399. Shady Grove cannot be recon-
ciled with this Court’s decisions in Liggon-Redding v. Estate of Sugarman, 659 F.3d 258 (3d Cir.
2011), and Schmigel v. Uchal, 800 F.3d 113 (3d Cir. 2015), which did not cite Shady Grove, let
alone apply that framework. Applying the Shady Grove framework, this Court should hold that
Federal Rules 8, 9, 11, and 12 supplant Pennsylvania Rule 1042.3(a).

        1. In a Federal Tort Claims Act suit, the Federal Rules of Civil Procedure apply. United
States v. Yellow Cab Co., 340 U.S. 543, 553 & n.9 (1951). But the state law where the “act or
omission occurred” supplies the “source of substantive liability.” FDIC v. Meyer, 510 U.S. 471,
477-78 (1994) (citing 28 U.S.C. § 1346(b)(1)). The Supreme Court’s two-step framework in
Shady Grove thus applies in the FTCA context to resolve potential conflicts between the Federal
Rules and state laws. See 559 U.S. at 398; Gallivan v. United States, 943 F.3d 291, 294-95 (6th
Cir. 2019). This Court’s decisions in Liggon-Redding and Schmigel depart from that framework.
The question in those cases was whether certain provisions of Pennsylvania’s certificate-of-merit
requirement apply in federal diversity suits. Those cases held that various Federal Rules of Civil
Procedure governing pleadings do not conflict with Pennsylvania Rules of Civil Procedure 1042.3
and 1042.7, and thus required federal courts to enforce those latter rules. Liggon-Redding, 659
F.3d at 262-63; Schmigel, 800 F.3d at 121-22.

        Federal Rules of Civil Procedure 8, 9, 11, and 12 govern the content of pleadings and spec-
ify what they must include to survive dismissal. Rules 8 and 9 dictate that a complaint need only
contain “a short and plain statement of the claim” to “state[] a claim for relief” unless heightened
pleading is required for allegations of fraud or mistake. Fed. R. Civ. P. 8(a), 9(b). Under Rule 11,
the attorney’s or litigant’s signature alone is enough to certify that the pleading’s contentions have
or “will likely have evidentiary support.” Fed. R. Civ. P. 11(b)(3). And a complaint survives a
Rule 12(b)(6) motion to dismiss so long as it alleges facts sufficient to state a claim “that is plau-
sible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); Fed. R. Civ. P. 12(b)(6).

         By contrast, Pennsylvania Rule 1042.3(a) requires professional negligence plaintiffs to cer-
tify either that (1) an expert has stated in writing that there is “a reasonable probability” the de-
fendant breached the standard of care and caused the plaintiff’s injury, or (2) expert testimony is
unnecessary. Pa. R. Civ. P. 1042.3(a)(1), (3). This “certificate of merit” must be “file[d] with the
complaint or within sixty days after filing of the complaint.” Pa. R. Civ. P. 1042.3(a). The de-
fendant files his responsive pleading only “after service of the certificate of merit,” which operates
as an exception to the general rule in Pennsylvania requiring defendants to respond within 20 days
of service of the complaint. Compare Pa. R. Civ. P. 1042.4, with Pa. R. Civ. P. 1026. And before
he files the certificate, the plaintiff can take only limited discovery without leave of court. Pa. R.
Civ. P. 1042.5. If the plaintiff fails to submit a certificate, the defendant may seek a judgment of
non pros—the equivalent of dismissal without prejudice. Pa. R. Civ. P. 1042.7; Schmigel, 800
F.3d at 117 & n.5; accord Womer v. Hilliker, 908 A.2d 269, 275-76 (Pa. 2006).
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        Under Shady Grove, this Court should have first asked whether the Federal Rules and
Pennsylvania Rule 1042.3(a) address “the same question.” 559 U.S. at 399. The answer should
have been yes: federal and Pennsylvania rules both “specif[y] requirements for a case to proceed
at the same stage of litigation.” See Klocke v. Watson, 936 F.3d 240, 245 (5th Cir. 2019). The
Federal Rules’ comprehensive set of pleading requirements do not mandate the filing of any type
of certificate to proceed “beyond the pleading stage and into discovery.” Gallivan, 943 F.3d at
293. Pennsylvania’s rule answers that filing question differently, requiring professional negli-
gence plaintiffs to file a certificate of merit, not just a “short and plain statement of the claim,” in
order to avoid dismissal. Pa. R. Civ. P. 1042.3(a), 1042.7. And that certificate must state that an
expert will be unnecessary or has already substantiated the complaint’s allegations as “reason-
abl[y] probab[le],” not just plausible. Pa. R. Civ. P. 1042.3(a). Thus, because Pennsylvania’s
rules create “additional hurdle[s] a plaintiff must jump over to” avoid dismissal and proceed to
discovery, the Federal Rules displace them. See Abbas v. Foreign Pol’y Grp., LLC, 783 F.3d 1328,
1334 (D.C. Cir. 2015) (Kavanaugh, J.).

        Pennsylvania’s certificate requirement operates as a pleading rule even though the plaintiff
can file the certificate within 60 days of the complaint. Cf. Liggon-Redding, 659 F.3d at 263.
Filing the certificate is a prerequisite for “additional pleading and discovery.” Womer, 908 A.2d
at 275. And most importantly, without a certificate, the plaintiff’s claim is dismissed at an early
stage. Pa. R. Civ. P. 1042.7. Pennsylvania’s certificate requirement thus “amounts to a ‘precon-
dition[] for maintaining’ a medical malpractice suit” that is not found in the federal rules governing
pleadings. See Pledger v. Lynch, 5 F.4th 511, 522 (4th Cir. 2021) (quoting Shady Grove, 559 U.S.
at 399) (alteration in original).

        Under Shady Grove, then, the Federal Rules displace Pennsylvania Rule 1042.3(a), so long
as they are valid. And the federal rules unquestionably pass muster under the Rules Enabling Act
and the Constitution. The Federal Rules of Civil Procedure are “presumptively valid[] under both
the constitutional and statutory constraints.” Burlington N. R.R. Co. v. Woods, 480 U.S. 1, 6
(1987). This Court has already explained that there is “no contention that Federal Rules 8 and 9
are beyond the scope of the Rules Enabling Act or inconsistent with the Constitution.” Chamber-
lain v. Giampapa, 210 F.3d 154, 160 (3d Cir. 2000). Nor, according to the Sixth Circuit, is there
a “reason to doubt the validity” of Rule 12. Gallivan, 943 F.3d at 294. And the Fourth Circuit has
held that Rule 11 complies with the Rules Enabling Act and the Constitution. Pledger, 5 F.4th at
521.

        2. This Court’s decisions in Liggon-Redding and Schmigel contravene Shady Grove and
employ an inquiry that systematically curtails the scope of federal law. Start with Liggon-Redding,
which applied pre-Shady Grove cases and looked for a “direct collision” between Rule 1042.3 and
the Federal Rules. See 659 F.3d at 262 (citing Chamberlain, 210 F.3d at 158-61). That direct-
collision requirement contradicts Shady Grove’s teaching that no direct conflict is necessary; so
long as federal and state laws “answer the same question” and the federal rule is valid, federal law
prevails. See 559 U.S. at 398-99.
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         Further, Liggon-Redding saw no direct conflict between the Federal Rules of Civil Proce-
dure and Pennsylvania Rule 1042.3 by envisioning that the federal and state laws serve different
purposes. 659 F.3d at 262-64. Liggon-Redding tried to harmonize the rules, concluding that Fed-
eral Rules 8, 9, and 11 only govern pleadings, whereas Pennsylvania Rule 1042.3 requires a cer-
tificate filed after the complaint and is thus not a pleading rule. Id. But, under Shady Grove, it is
irrelevant whether federal and state laws share the same purpose. 559 U.S. at 402-04. If the federal
rule governs the same general area, yet the state law adds additional requirements, federal law
trumps so long as the federal rule is valid. Id. at 399. From start to finish, Liggon-Redding’s
analysis departed from the Shady Grove framework.

        Likewise, Schmigel applied Liggon-Redding to hold that Federal Rule 12(b)(6) does not
conflict with Pennsylvania Rules 1042.3 and 1042.7. 800 F.3d at 122. Rule 12 “tests the suffi-
ciency of pleadings,” and because, in the Court’s view, Pennsylvania’s certificate is not a pleading,
the rules “can exist side by side.” Id. (quoting Chamberlain, 210 F.3d at 160). In Shady Grove,
however, the federal rule provided a “one-size-fits-all formula” for the question at issue, so it did
not matter whether the federal and state rules could co-exist. See 559 U.S. at 399; Pledger, 5 F.4th
at 520-22.

        Plus, Schmigel’s seeming attempt to mitigate a potential conflict—summary judgment, ra-
ther than dismissal, for a missing certificate—ran afoul of Shady Grove. Schmigel, 800 F.3d at
122 & n.13. A summary judgment grant “results in a final adverse decision on the merits.” Brooks
v. Hussman Corp., 878 F.2d 115, 116 (3d Cir. 1989). In contrast, Pennsylvania Rule 1042.7 only
allows for the entry of a judgment of non pros (essentially, dismissal without prejudice) upon the
plaintiff’s failure to file the certificate. Schmigel’s reasoning thus contravened Shady Grove’s
instruction that courts cannot “revis[e] state laws when a potential conflict with a Federal Rule
arises,” but must “accept the law as written and test the validity of the Federal Rule.” 559 U.S. at
404. Schmigel instead rewrote the Pennsylvania rules such that federal courts now apply them
with harsher consequences than they carry in state court. 1

       Finally, this Court’s caselaw concerning New Jersey’s certificate-of-merit rule does not
salvage Liggon-Redding or Schmigel’s treatment of Pennsylvania law. In Nuveen Municipal Trust
v. Withumsmith Brown, 692 F.3d 283 (3d Cir. 2012), this Court considered Shady Grove’s effect

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  Further, Schmigel’s reasoning does not apply in the FTCA context, where the government has 60
days after service of the complaint to file its answer or motion to dismiss. See Fed. R. Civ. P.
12(a)(2). Schmigel explained that defendants should move for summary judgment, not dismissal,
for failure to file a certificate because their typical 21-day response deadline would usually fall
before the plaintiff’s 60-day certificate-of-merit deadline. 800 F.3d at 122 n.13. But in FTCA
cases, the plaintiff’s certificate deadline will always precede or fall on the same day as the govern-
ment’s 60-day response due date. The government can indeed address any certificate deficiencies
in a motion to dismiss—except that Rule 12 does not permit dismissal for a missing certificate, so
it displaces the state requirement.
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on Chamberlain v. Giampapa, its earlier decision upholding the application of New Jersey’s rule
in federal court. Id. at 302-04; Chamberlain, 210 F.3d at 159-60. But Nuveen held that New
Jersey’s certificate-of-merit requirement does not conflict with Federal Rules 8 and 9 without ask-
ing whether New Jersey’s rule “attempts to answer the same question” as the Federal Rules, as
Shady Grove requires. Compare 692 F.3d at 302-04, with 559 U.S. at 399. Regardless, New
Jersey’s rule differs from Pennsylvania’s: certificates must be filed 60 days after the defendant
files his answer, and dismissal for failure to file is with prejudice. Nuveen, 692 F.3d at 305. New
Jersey’s certificate thus resembles a pleading less, as it is filed “after the pleadings are closed,”
and its absence results in a final judgment with no ability to refile. Id. at 303 (quoting Chamber-
lain, 210 F.3d at 160).

        3. Reinforcing that this Court’s cases depart from Shady Grove, every other circuit to
consider similar state laws requiring certificates of merit under Shady Grove has held that the
Federal Rules supplant those laws. That “growing consensus” that state certificate-of-merit re-
quirements “do not govern actions in federal court” is all the more reason to eliminate this Court’s
outlier status. See Pledger, 5 F.4th at 518. Take the following circuits’ cases:

        Second Circuit: Applying Shady Grove, the Second Circuit held that Federal Rule 8 sup-
plants Connecticut’s requirement that medical malpractice plaintiffs attach an expert report to their
complaint. Corley v. United States, 11 F.4th 79, 88-89 (2d Cir. 2021). Connecticut’s rule imposed
a “heightened pleading requirement” inconsistent with Rule 8. Id. at 89.

         Fourth Circuit: In Pledger, the Fourth Circuit applied Shady Grove to hold that Federal
Rules 8, 9, 11, and 12 displace West Virginia’s requirement that medical malpractice plaintiffs
serve an expert certificate on defendants before filing their complaint. 5 F.4th at 519-20. Even
though the certificate precedes the complaint, the court recognized that the state rule still answers
the same question as the federal rules governing pleadings. Id. at 519-20, 22. And the Federal
Rules’ “‘one-size-fits-all formula’ for filing and maintaining a complaint” does not require plain-
tiffs to obtain an expert certificate before filing and maintaining a medical malpractice suit. Id. at
520 (quoting Shady Grove, 559 U.S. at 399).

         Sixth Circuit: The Sixth Circuit in Gallivan applied the Shady Grove framework and con-
cluded that Federal Rules 8, 9, and 12 displace Ohio’s requirement that medical negligence plain-
tiffs attach an expert report to their complaint. 943 F.3d at 293-94. Those rules, the court ex-
plained, “answer the same question” as the state rule: “[D]oes someone need an affidavit of merit
to state a claim for medical negligence?” Id. at 293. And under the Federal Rules, the answer is
no. Id.; see also Albright v. Christensen, 24 F.4th 1039, 1045-46 (6th Cir. 2022) (same for Mich-
igan’s similar affidavit-of-merit requirement).

        Seventh Circuit: Correcting earlier precedent that did not apply the Shady Grove frame-
work, the Seventh Circuit held that Rule 8 supplanted Illinois’s rule that malpractice plaintiffs
attach an expert affidavit to their complaint. Young v. United States, 942 F.3d 349, 351 (7th Cir.
2019) (citing Hahn v. Walsh, 762 F.3d 617 (7th Cir. 2014)). Rule 8, the court explained, “does
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not require attachments.” Id. The Seventh Circuit did enforce the rule on summary judgment, id.
at 351-52, but for the reasons explained above, such a solution would improperly revise Pennsyl-
vania’s rule. See supra p. 4.

   II.     The Panel Must Follow Shady Grove, Not Liggon-Redding and Schmigel

        This Court must generally follow its precedent “absent en banc reconsideration.” Karns v.
Shanahan, 879 F.3d 504, 514 (3d Cir. 2018). Nonetheless, a panel’s “first duty is to follow the
dictates of the United States Supreme Court.” United States v. Tann, 577 F.3d 533, 541 (3d Cir.
2009) (citation omitted). If “a prior holding of the Court … ‘conflicts with intervening Supreme
Court precedent,’” a panel alone may revisit the Court’s prior holding. Karns, 879 F.3d at 514
(quoting In re Krebs, 527 F.3d 82, 84 (3d Cir. 2008)). And it is immaterial whether the conflicting
Supreme Court precedent “was rendered before or after the [circuit court’s] prior decision.” Tann,
577 F.3d at 541. The panel must “apply the law announced by the Supreme Court as [the panel]
find[s] it on the date of [the panel’s] decision.” Id. (quoting United States v. City of Philadelphia,
644 F.2d 187, 192 n.3 (3d. Cir. 1980)).

        Under those cases, this Court’s holdings in Liggon-Redding and Schmigel “must yield in
light of the Supreme Court’s” conflicting decision in Shady Grove. See Karns, 879 F.3d at
515. This conclusion is “further reinforc[ed]” by the intervening circuit court decisions that apply
Shady Grove to reject the application of state certificate requirements in federal court. United
States v. Stevens, __ F. 4th __, 2023 WL 3940121, at *5 (3d Cir. June 12, 2023). This Court should
instead employ the proper Shady Grove framework and hold that Federal Rules 8, 9, 11, and 12
displace Pennsylvania Rule 1042.3(a). As a result, Mr. Wilson never needed to file a certificate
of merit in federal court for his claim to proceed—and nothing should preclude him from securing
and presenting an expert now.

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        This Court should vacate the district court’s order granting summary judgment and remand
the case for Mr. Wilson to pursue discovery, or at the very least, for the district court to consider
Mr. Wilson’s Rule 56(d) filing in the first instance.

                                                       Respectfully submitted,



                                                       /s/ Julia E. Fine
                                                       Julia E. Fine
